                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )      Case No. 1:07CR00058
                                                  )
 v.                                               )      OPINION AND ORDER
                                                  )
 DAVID TOBIAS MAY,                                )      By: James P. Jones
                                                  )      United States District Judge
                                                  )
                   Defendant.                     )

      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
 for United States; Lisa M. Lorish, Assistant Federal Public Defender,
 Charlottesville, Virginia, for Defendant.

       The defendant, David Tobias May, by counsel, has filed a Motion for

 Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2).               He relies on

 Amendment 782, which “reduced the base offense level by two levels for most

 drug offenses.” Hughes v. United States, 138 S. Ct. 1765, 1774 (2018). See U.S.

 Sentencing Guidelines Manual (“USSG”) app. C, amend. 782 (effective Nov. 1,

 2014). The motion has been fully briefed and is ripe for decision. The United

 States argues that based on the Hughes decision, May is ineligible for a reduction,

 and that even if he were, the court should exercise its discretion to deny it. I find

 that May is eligible for a reduction, but after considering all the required factors, I

 am not inclined to grant one and will deny the motion.




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       May entered into a written Plea Agreement pursuant to Federal Rule of

 Criminal Procedure 11(c)(1)(C) (“Type-C agreement”), in which he and the United

 States agreed that following acceptance of his guilty plea by the court, he would be

 sentenced to a total term of imprisonment of 240 months, consisting of terms of

 180 months on each of Counts 1 and 8 of the Indictment, a term of 120 months on

 Count 13, all such terms to be served concurrently, and a consecutive term of 60

 months on Count 9, which charged a violation of 18 U.S.C. § 924(c), requiring

 such a mandatory minimum consecutive sentence.         At sentencing, on July 20,

 2009, the court accepted the Type-C agreement, and imposed the agreed-upon

 terms of imprisonment.      When pronouncing his sentence, I stated that I had

 “consulted the Advisory Sentencing Guidelines.” Sent. Hr’g Tr. 4, ECF No. 307.

       Subsequently, the Sentencing Commission retroactively reduced the

 sentencing ranges for drug offenses by two offense levels. Counts 1 and 8 of the

 Indictment, of which May was convicted, charge drug trafficking offenses. The

 question is whether May’s Rule 11(c)(1)(C) Plea Agreement disqualifies him from

 eligibility for a reduction under § 3582(c)(2).

       Section 3582(c)(2) permits a reduction for a defendant whose sentence has

 been “based on” a subsequently lowered sentencing range.           In Hughes, the

 Supreme Court stated that “[i]n the typical sentencing case there will be no

 question that the defendant’s Guidelines range was a basis for his sentence,” as the


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 Guidelines are the starting point for sentencing calculations, and courts are

 required to consider them. 138 S. Ct. at 1775. “The Sentencing Guidelines

 prohibit district courts from accepting Type–C agreements without first evaluating

 the recommended sentence in light of the defendant’s Guidelines range.” Id. at

 1776. Only in a narrow subset of cases where the Guidelines range was in no way

 relevant to the judge’s analysis of the appropriate sentence will the sentence not

 have been based on the Guidelines. Id. An example of such a case is Koons v.

 United States, 138 S. Ct. 1783, 1789 (2018), where it was clear from the record

 that the sentencing judge had entirely disregarded the guidelines and instead

 imposed a sentence based on mandatory minimums and substantial-assistance

 factors. Hughes, 138 S. Ct. at 1776. But cases like Koons are rare, and “when the

 Commission lowers a defendant’s Guidelines range the defendant will be eligible

 for relief under § 3582(c)(2) absent clear demonstration, based on the record as a

 whole, that the court would have imposed the same sentence regardless of the

 Guidelines.” Id.

       In the present case, the Plea Agreement stipulated to a Total Offense Level

 of 30 applicable to Counts 1 and 8 (the drug offenses) grouped with Count 13 (the

 firearms offense), as well as a consecutive mandatory sentence for Count 9 of five

 years. (Plea Agreement 4, ECF No. 262.) It did not stipulate to the range of

 imprisonment under the Guidelines or to the Criminal History Category applicable


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 to the defendant, a necessary component of the sentencing range. Nevertheless, I

 stated that I considered the Guidelines in deciding to accept the Plea Agreement.

 “Although other factors may have been relevant, the record does not clearly

 demonstrate that the Guidelines were irrelevant to [my] acceptance of the plea

 agreement or that [I] would have imposed the same sentence absent the

 Guidelines.” United States v. Smith, 744 F. App’x 805, 806 (4th Cir. 2018)

 (unpublished). Therefore, applying the principle set forth in Hughes, I conclude

 that May is eligible for relief.

        However, in my discretion, I decline to reduce his sentence. “[I]n the case

 of a defendant who has been sentenced to a term of imprisonment based on a

 sentencing range that has subsequently been lowered by the Sentencing

 Commission pursuant to 28 U.S.C. 994(o),” I may reduce the defendant’s term of

 imprisonment “after considering the factors set forth in section 3553(a) to the

 extent that they are applicable.” 18 U.S.C. § 3582(c)(2). “Whether to reduce a

 sentence and to what extent is a matter within the district court’s discretion.”

  United States v. Smalls, 720 F.3d 193, 195 (4th Cir. 2013). In addition to the

 factors set forth in 18 U.S.C. § 3553(a), the court may consider public safety

 concerns as well as the defendant’s post-sentencing conduct. USSG § 1B1.10 cmt.

 1(B) (ii), (iii).




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       The defendant asks me to consider that the Presentence Investigation Report

 (“PSR”) miscalculated his criminal history by assigning him three points each for

 two offenses that were too old to be considered under the Guidelines. Therefore,

 the defendant contends his criminal history category is actually III, not IV, which

 would result in a Guidelines range of only 97 to121 months for Counts One and

 Eight. Because of this error, and because he is now 55 years old and statistically

 unlikely to reoffend, the defendant asks me to reduce his sentence to 130 months,

 the low end of the reduced Guidelines range of 130 to162 months based on the

 two-level Amendment 782 reduction. 1           The defendant seeks this compromise

 because I do not have the power to correct his criminal history category now, and

 reducing his sentence to 130 months would still produce a within-Guidelines

 sentence.   In addition, the defendant notes that he has not committed any

 disciplinary infractions during his current term of incarceration.

       The United States opposes a reduction, noting that May has a serious and

 violent criminal history. As detailed in the presentence report, he stole and sold a

 firearm shortly after being released from prison; sold a large amount of

 methamphetamine and displayed a firearm in the course of doing so; beat a person

 to the point of inflicting injury; and fired a gun over an individual’s head. He

 began committing serious felonies as a teenager. This is not his first term of

       1
           Adding the mandatory 60 months of imprisonment for Count Nine gives May a
 total revised Guidelines range of 190 to 222 months.
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 imprisonment, demonstrating that prior periods of incarceration have not deterred

 him from committing additional dangerous crimes.          He also absconded from

 supervision in the past.

       May’s history reveals him to be a dangerous individual with little regard for

 the law. A lengthy period of incarceration is necessary to protect the public.

 While older individuals may have a statistically lower chance of recidivism, I am

 not convinced that May is likely to live a law-abiding life upon his release from

 prison. Having considered the nature and characteristics of his crimes and all of

 the information contained in the PSR, I conclude that May’s current sentence of

 240 months remains appropriate despite Amendment 782’s two-offense-level

 reduction for his drug offenses.

       For these reasons, it is ORDERED that the Motion to Reconsider Denial of

 Sentencing Reduction under Amendment 782 is DENIED.

                                               ENTER: February 20, 2019

                                               /s/ James P. Jones
                                               United States District Judge




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